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                             IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


     UNITED STATES OF AMERICA                            §
                                                         §
     VS.                                                 §        Criminal No 4:21-CR-221 ALM/CAN
                                                         §
     ENRIQUE CASTILLO, JR. (01)                          §


                    ORDER ADOPTING REPORT AND RECOMMENDATON
                        OF UNITED STATES MAGISTRATE JUDGE

            Before the Court is a Report and Recommendation of the United States Magistrate Judge

     regarding Defendant’s competency. The parties have not filed objections to the Report.

            Having conducted an independent review, the Court concludes that Defendant is

     competent because Defendant is able to understand the nature and consequences of the

     proceedings against him, and able to assist his attorney in his defense.

            It is therefore ORDERED that the Report and Recommendation of the United States
.
     Magistrate Judge on Defendant’s competency to stand trial is ADOPTED. It is further

     ORDERED that Defendant, Enrique Castillo, Jr., is competent. The speedy trial time is

     excluded from August 3, 2021 until the date of this Order.

           SIGNED this 29th day of December, 2021.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
